      Case 2:24-cv-00199-KS-MTP                Document 1         Filed 12/23/24    Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                    EASTERN DIVISION


BRANDON MENG                                                                                PLAINTIFF

VS.                                                                        CAUSE NO.: 2:24cv199-KS-MTP

WILLIAM CAREY UNIVERSITY,
acting through its Division of the College of
Osteopathic Medicine,
ITALO R. SUBBARAO, D.O., and
EDWARD FRIEDLANDER, M.D.                                                              DEFENDANTS

                                                                            JURY TRIAL DEMANDED


                                              COMPLAINT


        This is an action to recover actual and punitive damages and injunctive relief for violations

of federal and state law. Plaintiff shows the court the following facts:

                                                      1.

        Plaintiff BRANDON MENG is an adult citizen of the Nation of Canada, and is lawfully in

the United States of America on a student Visa to pursue his education.

                                                      2.

        Defendant WILLIAM CAREY UNIVERSITY, acting through its Division of the College of

Osteopathic Medicine, is a corporation with principal place of business and state of corporation in

the State of Mississippi and in no other state. Defendant University may be served with process

upon its President, Dr. Ben Burnett, at 710 William Carey Parkway, Hattiesburg, Mississippi 39401.

Defendant University receives federal assistance so as to make it subject to Title VI of the Civil

Rights Act of 1964, 42 U.S.C. § 2000d.
     Case 2:24-cv-00199-KS-MTP             Document 1       Filed 12/23/24       Page 2 of 10




         Defendant ITALO R. SUBBARAO, D.O., is a citizen of the State of Mississippi. Defendant

Subbarao may be served with process at his place of employment, the College of Osteopathic

Medicine, William Carey University, at 710 William Carey Parkway, Hattiesburg, Mississippi

39401.

         Defendant EDWARD FRIEDLANDER, M.D., is a citizen of the State of Mississippi and

may be served with process at his place of employment, the College of Osteopathic Medicine,

William Carey University, at 710 William Carey Parkway, Hattiesburg, Mississippi 39401.

                                                 3.

         This Court has diversity jurisdiction under 28 U.S.C. § 1332. This Court also has federal

question jurisdiction under 28 U.S.C. § 1331, and civil rights jurisdiction under 28 U.S.C. § 1343.

There is more than $75,000.00 in controversy.

                                                 4.

         In the fall of 2021, Plaintiff entered an admissions contract with Defendant William Carey

University, to attend its division of Osteopathic Medicine. Plaintiff is of Chinese ethnicity, and is

a citizen of the Nation of Canada.

                                                 5.

         Defendant Italo R. Subbarao, D.O., at all relevant times, was the Dean of the College of

Osteopathic Medicine at William Carey University and was the supervisor of Defendant Edward

Friedlander, M.D.

                                                 6.

         At the time of Plaintiff’s admission, and throughout the time relevant to this complaint,

Defendant Edward Friedlander, M.D., was a pathology professor at William Carey University

                                                  2
      Case 2:24-cv-00199-KS-MTP                 Document 1         Filed 12/23/24           Page 3 of 10




division of Osteopathic Medicine.

                                                       7.

        The successful performance of Plaintiff’s contract with Defendant William Carey University

would entitle Plaintiff to pursue a career as an osteopathic physician where he would be expected

to earn substantial income.

                                                       8.

        Plaintiff Brandon Meng was suffering from nausea and flu symptoms in August.                   These

minor illnesses were not substantially different from illnesses suffered by other non-Chinese

students.

                                                       9.

        On or about September 21, 2023, Defendant Friedlander, without medical evidence or any

diagnostic test, suddenly accused Plaintiff of having tuberculosis, an infectious disease. Defendant

Friedlander made no such accusation against other students with colds, who were not of Chinese

nationality. Defendant Friedlander had previously indicated a dislike of Plaintiff. Dr. Friedlander

had no reason to dislike Plaintiff except for Plaintiff’s Chinese racial characteristics.

                                                      10.

        Defendant Friedlander communicated his claim of tuberculosis to Defendant Subbarao’s

immediate subordinate, Dr. Smith-Trigg, who, in turn, communicated this information to Defendant

Subbarao.

                                                      11.

        Plaintiff attempted to seek resolution by visiting with Defendant Friedlander at his office.

Defendant Friedlander ejected Plaintiff from his office and would not discuss the matter. Prior to

                                                       3
     Case 2:24-cv-00199-KS-MTP              Document 1       Filed 12/23/24      Page 4 of 10




Defendant Friedlander’s ejecting him from his office, Plaintiff recognized that he was being treated

differently from other students and asked Defendant Friedlander, “Is it because of my background?”

                                                  12.

        On the same day, Defendant Friedlander communicated about the matter to Defendant

Subbarao. Without factual basis, Defendant Subbarao accused Plaintiff of having threatened

Defendant Friedlander and ordered Plaintiff to leave the campus accompanied by a security guard.

The removal from campus was done without any due process or any meaningful opportunity for

Plaintiff to be heard. Plaintiff later learned that Defendant Friedlander has denied that he ever told

Defendant Subbarao that Plaintiff had ever threatened him.

                                                  13.

        Personnel policies contained in the student handbook require a factual basis for disciplinary

action and an investigation by Defendant University’s “Student Affairs Committee,” before

disciplinary action can be taken against a student. Defendant Subbarao removed Plaintiff from

campus without factual basis and before receiving any investigation from the Student Affairs

Committee. The student handbook is enforceable, since, under Mississippi law, such handbooks are

contractual in nature and entities which issue such handbooks are subject to having them enforced

as a contract. Relevant excerpts from the Student Handbook are incorporated herein and attached

hereto as Exhibit “A.”

                                                  14.

        On September 28, 2023, after Plaintiff had already been removed from the campus by

Defendant Subbarao, the Student Affairs Committee investigated and determined that Plaintiff had

committed no misconduct warranting disciplinary action. Following its investigation into the matter

the Student Affairs Committee recommended that no disciplinary action be taken against Plaintiff.

                                                   4
     Case 2:24-cv-00199-KS-MTP               Document 1         Filed 12/23/24        Page 5 of 10




Unfortunately, Defendant Subbarao had already taken disciplinary action and the committee was

powerless to undo the harm that Plaintiff’s eviction from the campus had caused.

                                                   15.

        On October 2, 2023, Defendant Subbarao delivered Plaintiff a baseless “Warning for

Unprofessional Behavior,” which he caused to be placed in Plaintiff’s student file.

                                                   16.

        Concerned that he had unlawfully removed Plaintiff from campus, without factual basis, and

without a recommendation from the Student Affairs Committee, Defendant Subbarao directed his

Director of Student Affairs, Mallory Davis, to send an email to all members of the Student Affairs

Committee saying, “call me.” When the committee members called Ms. Davis, Ms. Davis, acting

as Defendant Subbarao’s agent, and on his behalf, told them that Defendant Friedlander has amended

his charge to charge that Plaintiff had made threats and the committee needed to change its

recommendation based upon the direction of Defendant Subbarao. Defendant Subbarao himself sent

an email containing a changed statement. Upon information and belief, Defendant Subbarao wrote

the changed statement for Defendant Friedlander. Defendant Subbarao directed the committee to

reconsider and recommend disciplinary action against Plaintiff. When the committee met a second

time, Defendant Friedlander again admitted that no threats had been made. Defendant Friedlander

was apparently unwilling to join in the falsifications being made by Defendant Subbarao that

Plaintiff had threatened Defendant Friedlander.

                                                   17.

        The Student Affairs Committee refused to follow Defendant Subbarao’s illegal directive to

recommend disciplinary action. Nevertheless, the harm had been done because Plaintiff had been

ejected from campus, interrupting his course of study, and ultimately making it impossible for

                                                    5
      Case 2:24-cv-00199-KS-MTP               Document 1     Filed 12/23/24      Page 6 of 10




Plaintiff to continue medical school.

                                                       18.

        Plaintiff was cast into severe depression by Defendants’ actions. On October 18, 2023,

Plaintiff was diagnosed with adjustment disorder with depressed mood. The expulsion from campus

had caused Plaintiff to be unable resume his medical career and had destructive effects upon

Plaintiff’s mental state.

                                                       19.

        Plaintiff was removed from campus during Plaintiff’s cardiology block, which is a crucial

portion of the medical school training. Missing time from this block made it impossible for Plaintiff

to catch up on his studies since missing time from the cardiology block prevented Plaintiff from

being able to complete the year’s study. Further, Defendant Friedlander’s prejudice against Plaintiff

made it impossible for Plaintiff to study under him.

                                                       20.

        After his expulsion, Plaintiff was sent inconsistent emails from Defendant Subbarao’s

immediate subordinate regarding his status on campus. The contradictory messages left Plaintiff

uncertain as to how to handle the matter and how to attempt to return to school. Morever, Plaintiff’s

mental state prevented his return.

                                                       21.

        Plaintiff was treated differently because of his Chinese ancestry. Plaintiff knows of a

classmate, who is not of Chinese ancestry. who had threatened and stalked another student. This non-

Chinese student was allowed to continue his schooling uninterrupted. Morever, upon information

and belief, Defendant Subbarao has never removed a non-Chinese student from campus without a


                                                       6
      Case 2:24-cv-00199-KS-MTP                 Document 1            Filed 12/23/24    Page 7 of 10




factual basis, and without complying with the student handbook.

                                                       22.

        Prior to the incident complained of, Plaintiff had already been required to retake one year of

medical school because of his score on a practice test. This practice test is called the “COMSAE.”

The American Osteopathic Association’s position is that the COMSAE test is not a predictor of the

actual board examination score. Plaintiff has passed every single WCUCOM course, has never been

remediated, or failed any class. The fact that Plaintiff had been set back earlier because of his score

on the practice test is not an indication that Plaintiff would not have completed medical school.

More than half of William Carey University’s medical students initially failed this practice test.

                                                       23.

        Combined with Plaintiff’s having to repeat a year of medical school, the actions of

Defendants caused Plaintiff to exceed the six (6) year time limit allowed for a medical student to

graduate. As a result, Plaintiff will no longer be able to graduate from medical school so as to obtain

a medical residency. Plaintiff’s potential career as a physician has been ruined.

                                                       24.

        Defendants are jointly and civilly liable to Plaintiff for:

                A.       Lost income for the amount Plaintiff would have earned over his career as a
                         medical physician;

                B.       Mental anxiety, stress, and damages to reputation;

                C.       Punitive damages; and

                D.       Injunctive relief returning him to medical school.




                                                        7
      Case 2:24-cv-00199-KS-MTP                  Document 1   Filed 12/23/24        Page 8 of 10




                                                       25.

          Plaintiff alleges the following causes of action:

          COUNT 1: DEFENDANT WILLIAM CAREY UNIVERSITY’S VIOLATION OF

TITLE VI OF THE CIVIL RIGHTS ACT OF 1964. Defendant William Carey University has

discriminated against Plaintiff based upon his Chinese ethnicity in violation of Title VI of the Civil

Rights Act of 1964, 42 U.S.C. § 2000d.

          COUNT 2: DEFENDANT WILLIAM CAREY UNIVERSITY’S LIABILITY FOR

BREACH OF STUDENT HANDBOOK. By failing to follow the student handbook, Defendant

William Carey University violated its contract with Plaintiff. This contract required Plaintiff not be

disciplined except upon the commission of wrongdoing and upon investigation and recommendation

of the Student Affairs Committee. Had the handbook been followed, Plaintiff would not have been

removed from school. Furthermore, the student handbook prohibits discrimination based on national

origin.

          COUNT 3: BREACH OF THE IMPLIED OBLIGATION OF GOOD FAITH. In

Mississippi, every contract contains an implied obligation of good faith. By falsely accusing Plaintiff

of having tuberculosis and causing Plaintiff to be expelled from campus without due process,

Defendant William Carey University breached the implied obligation of good faith.

          COUNT 4: MALICIOUS INTERFERENCE WITH CONTRACT BY INDIVIDUAL

DEFENDANT ITALO R. SUBBARAO. Defendant Italo R. Subbarao maliciously interfered with

Plaintiff’s contract by baselessly ordering Plaintiff to be removed from campus, and by attempting

to persuade the Student Affairs Committee to falsify the facts, so as to make up a false claim that

Plaintiff had threatened Defendant Friedlander. These malicious acts by Defendant Subbarao were


                                                         8
      Case 2:24-cv-00199-KS-MTP                  Document 1         Filed 12/23/24   Page 9 of 10




the cause of Plaintiff’s being removed from campus and ultimately losing his career and losing his

opportunity to become a physician.

         COUNT 5: MALICIOUS INTERFERENCE WITH CONTRACT BY DEFENDANT

FRIEDLANDER. Defendant Friedlander intentionally interfered with Plaintiff’s contract with

William Carey University by falsely claiming Plaintiff had tuberculosis, which ultimately led to

Plaintiff’s inability to return to school and loss of his career.

         COUNT 6: DISCRIMINATION BASED UPON ETHNICITY UNDER 42 U.S.C. §

1981. Defendants violated Plaintiff’s civil rights under 42 U.S.C. § 1981 since Plaintiff was denied

the same right to enter and complete his enrollment contract as would a person not of Chinese

ethnicity.

         COUNT 7: BREACH OF CONTRACT. Defendant William Carey violated its express and

implied contract to permit Plaintiff to complete medical school so long as he met all lawful

requirements.

         COUNT 8: VIOLATION OF COCA (COMMISSION ON OSTEOPATHIC COLLEGE

ACCREDITATION). The University is bound by the accreditation standards of the Commission

on Osteopathic College Accreditation. In pertinent part these accreditation standards require non-

discrimination with respect to ethnicity, require distribution of such policy, and require a mechanism

to report alleged discrimination incidents and track their resolution. See Commission on Osteopathic

College Accreditation, p. 18 of 146, attached as Exhibit “B.” Defendants’ failure to adhere to the

standards was a proximate cause of the discrimination against Plaintiff and his ultimate loss of his

status as a student.




                                                         9
     Case 2:24-cv-00199-KS-MTP             Document 1        Filed 12/23/24      Page 10 of 10




                                     REQUEST FOR RELIEF

        Plaintiff requests actual and punitive damages in the amount to be determined by a jury, in

an amount sufficient to compensate Plaintiff for being unable to become a medical doctor, and for

mental anxiety, stress, and damage to reputation. Plaintiff also requests a complete refund of tuition

and living expenses for the two (2) and a half years that Plaintiff spent at WCUCOM. Plaintiff also

requests reasonable attorneys’ fees and costs.

        RESPECTFULLY SUBMITTED, this the 23rd day of December, 2024.

                                                        BRANDON MENG, Plaintiff

                                                 By:    /s/ JIM WAIDE
                                                        Jim Waide, MS Bar No. 6857
                                                        waide@waidelaw.com
                                                        Rachel Pierce Waide, MS Bar No. 100420
                                                        rpierce@waidelaw.com
                                                        Yance Falkner, MS Bar No. 106107
                                                        yfalkner@waidelaw.com
                                                        WAIDE & ASSOCIATES, P.A.
                                                        Post Office Box 1357
                                                        Tupelo, MS 38802-1357
                                                        (662) 842-7324 / Telephone
                                                        (662) 842-8056 / Facsimile

                                                        ATTORNEYS FOR PLAINTIFF




                                                   10
